
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-053-CV



C I HOST, INC.	APPELLANT



V.



MCBRIDE ELECTRIC, INC.	APPELLEE



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FROM COUNTY COURT AT LAW NO. 2 OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.



PER CURIAM





PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: July 8, 2004 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




